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 1
                                 UNITED STATES DISTRICT COURT
 2                             NORTHERN DISTRICT OF CALIFORNIA
 3   THERESA SWEET, CHENELLE                              Case No.: 19-cv-03674-WHA
     ARCHIBALD, DANIEL DEEGAN, SAMUEL
 4
     HOOD, TRESA APODACA, ALICIA DAVIS,
 5   and JESSICA JACOBSON on behalf of
     themselves and all others similarly situated,
 6
                     Plaintiffs,
 7
            v.                                            AFFIDAVIT OF ALISON WRIGHT
 8

 9   ELISABETH DEVOS, in her official
     capacity as Secretary of the United States
10   Department of Education,
11   And
12
     THE UNITED STATES DEPARTMENT OF
13   EDUCATION,

14                   Defendants.
15

16           I, Alison Wright, state as follows:
17           1.     I am submitting this affidavit in relation to the above-captioned case.
18           2.     I borrowed federal student loans in order for my son, John Wright, Jr., to attend
19   the Wyotech Blairsville Diesel Technology and Management program.
20           3.     In December 2015, in order to stop the harassing and threatening phone calls I
21   received from the loan servicer, I refinanced my home to repay the loans in full.
22           4.     On August 5, 2016, I submitted a borrower defense application to the United
23   States Department of Education (“Application”), asking for these loans to be forgiven. A copy of
24   the Application, with personal information redacted, is attached as Exhibit A.
25           5.     My Application included both a letter with supporting evidence that Wyotech
26   engaged in misconduct as well as a signed Attestation Form pertaining to certain Everest and
27   Wyotech students.
28
                                                      1
                                                                                              AFFIDAVIT
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 1          6.      My son’s initial date of enrollment at Wyotech was August 26, 2011. He re-

 2   enrolled on February 13, 2013.

 3          7.      On March 30, 2020, I received correspondence from the Department of

 4   Education, stating that my claim had been denied (“Denial Notice”). A copy of the Denial

 5   Notice is attached as Exhibit B.

 6          8.      The Denial Notice says that my Application was denied because my claim was

 7   “Outside Coverage Dates” for Job Placement Rates.

 8          9.      The Denial Notice says that my Application failed to state a legal claim that

 9   Wyotech engaged in misconduct related to Educational Services.

10          10.     The Denial Notice says that my Application failed to state a legal claim that

11   Wyotech engaged in misconduct related to Employment Prospects.

12          11.     The Denial Notice says that my Application failed to state a legal claim that

13   Wyotech engaged in misconduct related to Program Cost and Nature of Loans.

14          12.     The Denial Notice says that my Application failed to state a legal claim that

15   Wyotech engaged in misconduct related to Career Services.

16          13.     The Department’s application form did not ask me to state any legal claims.

17          14.     The Denial Notice stated that my Job Placement Rate claim was “outside

18   coverage dates,” but I do not know what that means. The Department’s application did not state

19   that an initial enrollment date outside the “coverage dates” would result in a denial of that claim,

20   but instead stated that I “may still be eligible for loan forgiveness.” Further, it is now my

21   understanding that my son’s date of re-enrollment was within the coverage dates. And, I included

22   in my Application written evidence regarding the false promises made to my son that influenced

23   both his initial enrollment and his re-enrollment.

24          15.     The Denial Notice does not respond to any of the claims I made or information I

25   provided about Wyotech’s misconduct.

26          16.     The Denial Notice offers no information about whether any of the evidence I

27   submitted was reviewed, let alone considered, or what was found to be deficient. I do not know

28   whether my evidence was reviewed and how it was found deficient.
                                                  2
                                                                                             AFFIDAVIT
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 1          17.    The Denial Notice states that I can apply for reconsideration, but I am not aware

 2   of what additional evidence would be helpful, and based on the content of the Denial Notice, I do

 3   not know if the Department would review any additional evidence.

 4

 5          I swear under penalty of perjury that the foregoing is true and correct.

 6

 7          Executed on: August _20__, 2020

 8                         ________________,

 9
                                                  __________________________
10
                                                  Alison Wright
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                                                                                           AFFIDAVIT
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                   EXHIBIT B
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           m   m   m   m   V




March 30, 2020

Borrower Defense Application#:

Dear Alison Wright:

The U.S. Department of Education (ED) has completed its review of your application under the
applicable Borrower Defense to Repayment regulations for discharge of your William D. Ford
Federal Direct Loans (Direct Loans) made in connection with your or your child's enrollment at a
school operated by Corinthian Colleges, Inc. (CCI), including Everest Institute, Everest College,
Everest University, Heald College, and WyoTech. "You" as used here should be read to include
your child if you are a Direct PLUS Loan borrower who requested a discharge for loans taken out
to pay for a child's enrollment at a CCI-operated institution. ED has determined that your
application is ineligible for relief based on review of the facts of your claim and the regulatory
criteria for relief; this decision means that your Direct Loans will not be discharged. ED explains the
reasons below.

Applicable Law

For Direct Loans first disbursed prior to July 1, 2017, a borrower may be eligible for a discharge
(forgiveness) of part or all of one or more Direct Loans if the borrower's school engaged in acts or
omissions that would give rise to a cause of action against the school under applicable state law.
See § 455(h) of the Higher Education Act of 1965, as amended, 20 U.S.C. § 1087e(h), and 34
C.F.R. § 685.206(c) and 685.222 (the Borrower Defense regulations). ED recognizes a borrower's
defense to repayment of a Direct Loan only if the cause of action directly relates to the Direct Loan
or to the school's provision of educational services for which the Direct Loan was provided. 34
C.F.R. §§685.206(c)(1), 685.222(a)(5); U.S. Department of Education, Notice of Interpretation, 60
Fed. Reg. 37,769 (Jul. 21, 1995).

Borrower Defense Claims Based on CCI Job Placement Rates

ED has determined that students who enrolled in certain programs at certain schools operated by
CCI between 2010 and 2014 have borrower defense claims arising from the publication of
misleading job placement rates for many of their programs of study and are eligible for a discharge
of part or all of their loans under ED's Borrower Defense regulation. Lists of covered programs and
time periods are available online at these links for Everest/WyoTech and Heald, respectively:
StudentAid.gov/ev-wy-findings and StudentAid.gov/heald-findings (the "covered programs").

In order to have a successful borrower defense claim based on ED's CCI findings, you must have
enrolled in one of the covered programs during a listed time period. ED has established a process
for the review of borrower defense to repayment claims for job placement rates asserted by
borrowers enrolled in the covered programs at CCI schools during the eligibility period. Each CCI
borrower's application is reviewed under the same process to determine whether the borrower
qualifies for borrower defense to payment relief based on a CCI school job placement rate claim.

Why was my application determined to be ineligible for CCI Job Placement Rates?


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ED reviewed your application regarding the campus(es) you attended, the program(s) in which you
enrolled, and the date(s) that you enrolled. ED also reviewed data from the National Student Loan
Data System (NSLDS®) and, if available, school-provided data regarding your program(s) and
enrollment date(s), in addition to the enrollment information on any official school documents that
you provided with your application.

Based on that review, ED has determined that you did not enroll in a covered program at a CCI
school during the eligibility period. Either (a) the initial enrollment date(s) or program(s) you
provided in your application fell outside the eligibility period for a covered program(s) at one or
more of the CCI campuses or (b) both NSLDS data and the school's data demonstrated that you
were not enrolled in a covered program at one or more of the CCI schools during the eligibility
period.

Accordingly, based upon our review of your job placement rate allegation, ED has determined that
your borrower defense to repayment application is ineligible and will not discharge your Direct
Loan(s).

Why was my application determined to be ineligible for other allegations?

In addition, ED reviewed your other borrower defense claims based on any evidence submitted by
you in support of your application, your loan data from NSLDS, and evidence provided by other
borrowers.

                                  Allegation 1: Job Placement Rate

You allege that WyoTech engaged in misconduct related to Job Placement Rate. This allegation
fails for the following reason(s): Outside Coverage Dates.

Your claim for relief on this basis therefore is denied.

                                  Allegation 2: Educational Services

You allege that WyoTech engaged in misconduct related to Educational Services. This allegation
fails for the following reason(s): Failure to State a Legal Claim.

Your claim for relief on this basis therefore is denied.

                                 Allegation 3: Employment Prospects

You allege that WyoTech engaged in misconduct related to Employment Prospects. This allegation
fails for the following reason(s): Failure to State a Legal Claim.

Your claim for relief on this basis therefore is denied.

                           Allegation 4: Program Cost and Nature of Loans

You allege that WyoTech engaged in misconduct related to Program Cost and Nature of Loans.
This allegation fails for the following reason(s): Failure to State a Legal Claim.



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Your claim for relief on this basis therefore is denied.

                                     Allegation 5: Career Services

You allege that WyoTech engaged in misconduct related to Career Services. This allegation fails
for the following reason(s): Failure to State a Legal Claim.

Your claim for relief on this basis therefore is denied.

What evidence was considered in determining my application's ineligibility for other
allegations?

We reviewed evidence provided by you, other borrowers, and the school. Additionally, we
considered evidence gathered from the following sources:

   1. Documents from the Illinois, California, Massachusetts and Wisconsin Attorneys General

   2. Data from National Center for Education Statistics

   3. Transfer Credit Practices of Designated Educational Institutions, American Association of
      Collegiate Registrars and Admissions Officers (the 1994-1996, 1996-1998, 1998-2000,
      2006, 2009, 2012, and 2015 editions.)

   4. Government Accountability Office report, Transfer Students Postsecondary Institutions
      Could Promote More Consistent Consideration of Coursework by Not Basing
      Determinations on Accreditation (GAO-06-22, October 2005)

   5. Statements from former Corinthian Colleges Inc., executive Mark Pelesh

   6. Heald Fine Letter. See https://www.ed.gov/news/press-releases/us-department-education-
      fines-corinthian-colleges-30-million-misrepresentation.

What if I do not agree with this decision?

If you disagree with this decision, you may ask ED to reconsider your application. To submit a
request for reconsideration, please send an email with the subject line "Request for
Reconsideration ref:_00Dt0Gyiq._500t0DPvMH:ref" to BorrowerDefense@ed.gov or mail your
request to U.S. Department of Education, P.O. Box 1854, Monticello, KY 42633. In your Request
for Reconsideration, please provide the following information:

   1. Which allegation(s) you believe that ED incorrectly decided;

   2. Why you believe that ED incorrectly decided your borrower defense to repayment
      application; and

   3. Identify and provide any evidence that demonstrates why ED should approve your borrower
      defense to repayment claim under the applicable law set forth above.

ED will not accept any Request for Reconsideration that includes new allegations. If you wish to
assert allegations that were not included in your application, please see the following section.
                                                    4
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Additionally, your loans will not be placed into forbearance during the reconsideration process.
Failure to begin or resume repayment will result in collection activity, including administrative wage
garnishment, offset of state and federal payments you may be owed, and litigation. For more
information about the reconsideration process, please contact our borrower defense hotline at 1-
855-279-6207 from 8 a.m. to 8 p.m. Eastern time (ET) on Monday through Friday.

Can I apply for borrower defense if I have additional claims?

If you wish to file a new application regarding acts or omissions by the school other than those
described in borrower defense application 01469003, please submit an application at
StudentAid.gov/borrower-defense. In the new application, you should explain in the relevant
section(s) the basis for any new borrower defense claim(s) and submit all supporting evidence.

What should I do now?

Because your borrower defense to repayment application was found to be ineligible, you are
responsible for repayment of your loans. ED will notify your servicer(s) of the decision on your
borrower defense to repayment application within the next 15 calendar days, and your servicer will
contact you within the next 30 to 60 calendar days to inform you of your loan balance. Further, if
any loan balance remains, the loans will return to their status prior to the submission of your
application. If your loans were in forbearance as a result of your borrower defense to repayment
application, the servicer will remove those loans from forbearance. *See COVID-19 Note below.

If your loans are in default and are currently in stopped collections, your loans will be removed
from stopped collections. Failure to begin or resume repayment could result in collection activity
such as administrative wage garnishment, offset of state and federal payments that you may be
owed, and litigation. *See COVID-19 Note below.

While normally interest would not be waived for unsuccessful borrower defense applications, given
the extended period of time it took ED to complete the review of this application, the Secretary is
waiving any interest that accrued on your Direct Loans from the date of the filing of your borrower
defense application to the date of this notification. Your servicer will provide additional information
in the coming months regarding the specific amount of interest adjusted. *See COVID-19 Note
below.

*COVID-19 Note: In March 2020, President Trump announced an interest rate waiver, and
Secretary DeVos authorized additional payment and collection relief to provide student loan relief
to borrowers during the coronavirus (COVID-19) national emergency. Effective March 13, 2020, all
borrowers with federally held student loans will: (1) automatically have their interest rates set to 0%
for a period of at least 60 days; and, (2) have the option to suspend their payments for at least 60
days to allow greater flexibility during the national emergency. In addition, also effective March 13,
2020, for defaulted borrowers, all proactive collection activities, wage garnishments, and Treasury
offsets have been stopped. Your federal loan servicer will answer any questions you have about
your specific situation. In addition, Federal Student Aid's COVID-19 information page for students,
borrowers, and parents is located at StudentAid.gov/coronavirus. Please visit the page regularly for
updates.

What if I have another pending borrower defense application?



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If you have additional pending borrower defense to repayment applications, this information
applies to you:

      If your loans associated with an additional borrower defense to repayment application that is
       still pending are in forbearance or another status that does not require you to make
       payments, your loans will remain in forbearance or that other status. Similarly, if your loans
       associated with that borrower defense application are in default and you are currently in
       stopped collections, those loans will remain in stopped collections.

      If you are unsure if you have additional pending applications, or if you would like to check on
       the status of your loans associated with an additional application, contact our borrower
       defense hotline at 1-855-279-6207 from 8 a.m. to 8 p.m. ET on Monday through Friday.

ED offers a variety of loan repayment options, including the standard 10-year repayment plan, as
well as extended repayment, graduated repayment, and income-driven repayment plans. For more
information about student loan repayment options, visit StudentAid.gov/plans. If you have
questions about the status of your loans or questions about repayment options, please contact
your servicer(s). If you do not know the name of your federal loan servicer, you may go to
StudentAid.gov to find your servicer and view your federal loan information.

Sincerely,

U.S. Department of Education
Federal Student Aid



                                 830 First Street, NE, Washington, D.C. 20202
                                      StudentAid.gov/borrower-defense




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